Case 9:22-cr-80022-AMC Document 646 Entered on FLSD Docket 06/27/2023 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 22-80022-CR-CANNON/REINHART


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  JOSE GOYOS,

        Defendant.
  ___________________________________/


        DEFENDANT GOYOS’ SUPPLEMENTAL NOTICE CONCERNING
         DEFENSE WITNESSES, EXHIBITS AND THE SAFE HARBOR

        Defendant, Jose Goyos, through the undersigned attorney, provides the

  following supplemental notice concerning defense witnesses, exhibits and the safe

  harbor defense:

        1. Mr. Goyos adopts the witness lists and exhibit lists of Daniel Carver, John

  Paul Gosney, Jr. and Thomas Dougherty.

                                              Respectfully submitted,

                                              MICHAEL CARUSO
                                              FEDERAL PUBLIC DEFENDER

                                              By: s/Robert E. Adler
                                              Robert E. Adler
                                              Assistant Federal Public Defender
                                              Attorney for Defendant
                                              Florida Bar No. 259942
                                              250 S Australian Avenue, Suite 400
                                              West Palm Beach, Florida 33401
                                              Telephone: (561) 833-6288
                                              Email: robert_adler@fd.org
Case 9:22-cr-80022-AMC Document 646 Entered on FLSD Docket 06/27/2023 Page 2 of 2




                             CERTIFICATE OF SERVICE

        I HEREBY certify that on June 27, 2023, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.



                                         s/Robert E. Adler
                                         Robert E. Adler
